     Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 1 of 9




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 UNITED STATES OF AMERICA,


       v.                                        1:13-cr-92-01-WSD-LTW
 DONALD R. LAFOND, JR.,
                           Defendant.


                            OPINION AND ORDER

      This matter is before the Court on Magistrate Judge Linda T. Walker’s

Report and Recommendation (“R&R”) [33] regarding Defendant Donald R.

LaFond, Jr.’s (“Defendant”) Motion to Suppress Statements (“the Motion”) [23].

In the Motion, Defendant seeks to exclude statements that he made (i) to officers at

the United States Penitentiary in Atlanta, Georgia (“USP Atlanta”) when he was

returned to his cell following an altercation in the Segregation Housing Unit (SHU)

recreation yard, and (ii) in interviews with two Federal Bureau of Investigation

(FBI) Special Agents during a post-altercation investigation.

I.    BACKGROUND

      Defendant is incarcerated at USP Atlanta. On March 1, 2011, he, co-

defendant Robert Widdison, and a third inmate, Kenneth Mills, engaged in a fight
      Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 2 of 9




in the SHU recreation yard. Mills was injured in the alteration and later died as a

result of his injuries.

       Officer Batayias Smith, a SHU correctional officer, along with several other

USP Atlanta correctional officers, responded to the fight. Officer Smith was the

first to arrive at the fight scene. Defendant and Widdison were handcuffed at the

scene, and Officer Smith and another correctional officer escorted Defendant back

to his cell. While being escorted, Defendant spontaneously stated that his

intentions were to “fight or beat the guy up.” He did not state that Widdison or

anyone else was responsible for the altercation.

       The next day, on March 2, 2011, Defendant was interviewed by Special

Agents Paul Szabo and Chad Fitzgerald of the Atlanta FBI office. The interview

was conducted in an office in the SHU. SA Szabo conducted the interview in the

presence of SA Fitzgerald and Lt. Jackson, a USP Atlanta correctional officer. SA

Szabo read Defendant his Miranda rights from a Miranda rights form. The form

was placed in front of Defendant to allow him to read the rights as they were read

to him. SA Sazbo stated that Defendant appeared to understand his rights. SA

Sazbo asked Defendant if he was willing to talk about the altercation. SA Szabo

did not remember if Defendant responded by saying “no” but he did recall that

Defendant was “stoic” and shook his head from left to right when asked if


                                          2
     Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 3 of 9




Defendant wanted to talk about the altercation. SA Szabo replied: “That’s fine

given the circumstances of the incident that occurred, there’s not really a question

as to what had happened.” SA Szabo added: “The only thing that I don’t know is

the why.” Defendant responded to SA Szabo’s statement by saying, “Well, I can

tell you that.” Defendant then made statements similar to those he made while

being escorted back to his cell after the fight. Defendant stated he did not want to

talk about specifics of the incident or anyone else’s role, and he remembered Mills

“being unconscious and having some blood.” Defendant was not touched or

threatened during the interview, and no promises were made to him. SA Szabo

described Defendant as calm, polite and cooperative.

      On March 19, 2013, Defendant and co-Defendant Widdison were indicted

for unlawfully killing Mills, with malice aforethought, and for aiding and abetting

each other in causing Mills’s death, in violation of 18 U.S.C. §§ 1111, 7(3) and 2.

Defendant moves to suppress the statements he made to Officer Smith when

escorted to his cell and those made to SA Szabo during the March 2, 2011,

interview. In her R&R, Magistrate Judge Walker recommends that Defendant’s

Motion be denied with respect to the statements to Officer Smith. She also

recommends that the Motion be granted with respect to the statements made to SAs

Szabo principally because they were in response to SA Szabo’s question to


                                          3
      Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 4 of 9




Defendant about why Mills was assaulted—a statement that was made by SA

Szabo after Defendant was read his Miranda rights and had indicated that he did

not want to give a statement.

II.   STANDARD OF REVIEW

      After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a magistrate

judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59;

Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir. 1982) (per curiam), cert.

denied, 459 U.S. 1112 (1983). A district judge “shall make a de novo

determination of those portions of the report or specified proposed findings or

recommendations to which objection is made.” 28 U.S.C. § 636(b)(1). With

respect to those findings and recommendations to which a party has not asserted

objections, the Court must conduct a plain error review of the record. United

States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983), cert. denied, 464 U.S. 1050

(1984).

      No objections to the R&R have been filed and the Court reviews the

Magistrate Judge’s findings and recommendations for plain error. There being no

objections to the facts set forth in the R&R and finding no plain error in the

Magistrate Judge’s account of them, the Court adopts the facts set out in the R&R.


                                          4
       Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 5 of 9




III.   DISCUSSION

       The Fifth Amendment to the United States Constitution prohibits the use of

an involuntary confession against a defendant in a criminal trial. Dickerson v.

United States, 530 U.S. 428, 433 (2000) (emphasis added). The privilege against

self-incrimination provided for in the Fifth Amendment is safeguarded by the

requirement that a defendant in a custodial questioning first be given Miranda

warnings. Miranda v. Arizona, 384 U.S. 436, 478-79. “Miranda safeguards come

into play whenever a person in custody is subjected to either express questioning or

its functional equivalent.” Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980).

The functional equivalent of questioning is an officer’s use of “any words or

actions . . . (other than those normally attendant to arrest and custody) that the

police should know are reasonably likely to elicit an incriminating response from

the suspect.” Id. at 301. “‘Voluntary and spontaneous comments by an accused

. . . are admissible evidence if the comments were not made in response to

government questioning.’” United States v. Sanders, 315 F. App’x 819, 823

(11th Cir. 2009) (quoting Cannada v. Dugger, 931 F.2d 752, 754 (11th Cir. 1991).

The absence of Miranda warnings does not preclude the admission of a

spontaneous statement. United States v. Jules, 244 F. App’x 964, 972 (11th Cir.

2007); United States v. Glen-Archila, 677 F.2d 809, 814-15 (11th Cir. 1982).


                                           5
     Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 6 of 9




      Where Miranda warnings are required, they must be respected. If a

defendant indicates in any manner that he wishes to remain silent, the interrogation

must cease. Miranda, 384 U.S. at 473-74; see also Gore v. Sec’y for Dep’t of

Corr., 492 F.3d 1273, 1296 (11th Cir. 2007) (“Under Miranda, therefore, all

questioning must be immediately discontinued once a suspect indicates a desire to

remain silent.”). A defendant need only “articulate his desire to end questioning

with sufficient clarity so that a reasonable police officer would understand that

statement to be an assertion of the right to remain silent.” Davis v. United States,

512 U.S. 452, 459 (1994). Where a defendant makes statements after invoking the

right to remain silent, the statements may be admissible if the law enforcement

questioner has scrupulously honored the defendant’s right to terminate questioning.

United States v. Muhammed, 196 F. App’x 882, 885 (11th Cir. 2006). Whether

there was scrupulous honoring of an interview termination request is determined

on a case-by-case basis. Jackson v. Dugger, 837 F.2d 1469 (11th Cir. 2006). At a

minimum, scrupulous honoring requires declining to question a suspect unless the

suspect (1) initiates further conversation and (2) waives the previously asserted

right to silence. Muhammed, 196 F. App’x at 885. Impermissible questioning

includes words or action the police office should know are reasonable likely to

elicit a response. United States v. Ramsey, 992 F.2d 301, 305 (11th Cir. 1993). A


                                          6
      Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 7 of 9




police officer “may not ask questions or make statements which open up a more

generalized discussion relating directly or indirectly to the investigation.”

Christopher v. State of Fla., 824 F.2d 836, 845 (11th Cir. 1987)

      Against this backdrop the Court considers the two occasions during which

Defendant made remarks about the March 1, 2011, fight. In the first, while being

escorted after the altercation by Officer Smith, Defendant made spontaneous,

unsolicited comments not in response to any question, other words or conduct of

Officer Smith or the other escorting officer. See Sanders, 315 F. App’x at 823.

These comments were not elicited in violation of Defendant’s Fifth Amendment

rights, and the Court finds no plain error in the Magistrate Judge’s finding and

recommendation that Defendant’s Motion to suppress these statements be denied.

      The statements made during the March 2, 2011, interview are problematic.

The Magistrate Judge found that Defendant during the March 2, 2011, interview

indicated he did not wish to speak to the agents, including by shaking his head

“no.” He may even have said “no.” What is clear is that Defendant made known

that he did not wish to proceed with the interview. SA Szabo acknowledged

Defendant’s decision not to speak by commenting, “That’s fine given the

circumstances of the incident that occurred.” The agent essentially recognized he

did not need Defendant to comment because there was sufficient evidence of the


                                           7
      Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 8 of 9




incident to implicate him. Knowing that Defendant chose not to participate in the

interview, SA Szabo then essentially asked why Mills was beaten. The Magistrate

Judge, on this record, found that Defendant had indicated he did not agree to be

questioned. The Magistrate Judge further found that SA Szabo had not

scrupulously honored Defendant’s right not to speak when he made a comment

that was reasonably expected to invoke an incriminating response from Defendant

by stating, “The only thing I don’t know is the why.”

      The Court finds no plain error in the Magistrate Judge’s findings that the

questioning agent did not scrupulously honor Defendant’s indication that he did

not want to talk about the altercation. The Court also finds no plain error in the

Magistrate Judge’s recommendation that the Motion to suppress Defendant’s

statements from the March 2, 2011, interview be granted.

IV.   CONCLUSION

      For the reasons stated above,

      IT IS HEREBY ORDERED Magistrate Judge Linda T. Walker’s Report

and Recommendation [33] is ADOPTED.

      IT IS FURTHER ORDERED that Defendant Donald R. LaFond, Jr.’s

Motion to Suppress Statements [23] is DENIED IN PART and GRANTED IN

PART. It is DENIED with respect to the statements Defendant made to Officer


                                          8
     Case 1:13-cr-00092-TWT-LTW Document 39 Filed 12/04/13 Page 9 of 9




Smith while being escorted to his cell on March 1, 2011, following the altercation.

It is GRANTED with respect to the statements made by Defendant during the

interview by SA Szabo on March 2, 2011.



      SO ORDERED this 4th day of December, 2013.




                                         9
